Case 2:15-ml-02668-PSG-SK Document 1164 Filed 01/19/24 Page 1 of 12 Page ID
                                #:43869


 1   Beth A. Wilkinson (admitted pro hac vice)
     Brian L. Stekloff (admitted pro hac vice)
 2   Rakesh N. Kilaru (admitted pro hac vice)
     Jeremy S. Barber (admitted pro hac vice)
 3   WILKINSON STEKLOFF LLP
     2001 M Street NW, 10th Floor
 4   Washington, DC 20036
     Telephone: (202) 847-4000
 5   Facsimile: (202) 847-4005
     bwilkinson@wilkinsonstekloff.com
 6   bstekloff@wilkinsonstekloff.com
     rkilaru@wilkinsonstekloff.com
 7   jbarber@wilkinsonstekloff.com
 8   Gregg H. Levy (admitted pro hac vice)
     Derek Ludwin (admitted pro hac vice)
 9   John S. Playforth (admitted pro hac vice)
     COVINGTON & BURLING LLP
10   One CityCenter, 850 10th Street NW
     Washington, D.C. 20001
11   Telephone: (202) 662-6000
     Facsimile: (202) 778-5429
12   glevy@cov.com
     dludwin@cov.com
13   jplayforth@cov.com
14   Counsel for Defendants National Football
     League, NFL Enterprises LLC, and the
15   Individual NFL Clubs
16                                 UNITED STATES DISTRICT COURT
17                              CENTRAL DISTRICT OF CALIFORNIA
18
       IN RE: NATIONAL FOOTBALL                        Case No. 2:15-ml-02668−PSG (SKx)
19     LEAGUE’S “SUNDAY TICKET”                        DEFENDANTS’ OPPOSITION TO
20
       ANTITRUST LITIGATION                            PLAINTIFFS’ MOTION IN
       ______________________________                  LIMINE NO. 2 TO EXCLUDE
21                                                     EVIDENCE AND ARGUMENT
                                                       REGARDING RELIEF SOUGHT
22     THIS DOCUMENT RELATES TO:                       BY PLAINTIFFS
       ALL ACTIONS                                     Judge: Hon. Philip S. Gutierrez
23
                                                       Date: February 7, 2024
24                                                     Time: 2:30 p.m.
25                                                     Courtroom: First Street Courthouse
                                                                  350 West 1st Street
26
                                                                  Courtroom 6A
27                                                                Los Angeles, CA 90012
28
      Case No. 2:15-ml-02668-PSG (SKx)        Defendants’ Opposition To Plaintiffs’ Motion In Limine No. 2 To Exclude
                                              Evidence And Argument Regarding Relief Sought By Plaintiffs
Case 2:15-ml-02668-PSG-SK Document 1164 Filed 01/19/24 Page 2 of 12 Page ID
                                #:43870


 1            Plaintiffs’ second motion in limine (“Mot.”) seeks to exclude certain evidence
 2   and argument regarding Plaintiffs’ requested relief. ECF No. 1102-1. The NFL
 3   Defendants do not intend to discuss before the jury potential injunctive relief, nor
 4   will they argue that the amount of asserted damages for commercial class members
 5   is affected by whether they passed through any asserted overcharges to their
 6   customers. As to such arguments, Plaintiffs’ motion is unopposed.
 7            But Plaintiffs’ motion could be read to sweep more broadly, seeking to limit
 8   the NFL Defendants’ ability to address certain issues core to this litigation. Such
 9   issues include, for example, the reasons why commercial entities subscribe to NFL
10   Sunday Ticket; the satisfaction of class members (including the class representatives)
11   with the quality of Sunday Ticket, as demonstrated by their continuing to subscribe
12   to the service; and the scope of Plaintiffs’ damages claims. If the motion is read to
13   request such limitations, those requests should be denied.
14            I.        Defendants Should Be Allowed To Present Evidence And Argument
                        About The Impact Of Eliminating The Challenged Conduct.
15

16            Plaintiffs move to prevent mention, in the presence of the jury, of “injunctive
17   relief” and the Court’s power to grant such relief. Defendants do not intend, and agree
18   that neither side should, offer evidence or argument that explicitly discusses the
19   potential for future injunctive relief. That narrow restriction is consistent with the
20   cases on which Plaintiffs rely.1
21
     1
       To the extent that Plaintiffs’ cited decisions barred parties from mentioning future
22   injunctive relief, those holdings were either exceedingly narrow, see U.S. Football
     League v. Nat’l Football League, 1986 WL 7012, at *2–3 (S.D.N.Y. June 17, 1986)
23   (barring argument that a hypothetical injunction might reduce future damages);
     Amdocs (Isr.) Ltd. v. Openet Telecom, Inc., 2012 WL 12832376, at *1 (E.D. Va. Mar.
24   30, 2012) (precluding defendant from seeking an advisory opinion from the jury on
25
     injunctive relief, but allowing reference to an injunction on cross examination of
     Plaintiffs’ expert); Comput. Assocs. Int’l, Inc. v. Am. Fundware, Inc., 831 F. Supp.
26   1516, 1530 (D. Co. 1993) (precluding a defendant’s attempt to seek input from the
     jury on the scope of injunctive relief); Broadcom Corp. v. Emulex Corp., 2011 WL
27   13130705, at *1 (C.D. Cal. Aug. 10, 2011) (excluding reference to an injunction
     where defendants offered no reason it would be relevant), or provided no reasoning
28   at all, see Verizon Servs. Corp. v. Cox Fibernet Va., Inc., 2008 WL 5552302, at *1
     (continued…)
                                                   1
     Case No. 2:15-ml-02668-PSG (SKx)       Defendants’ Opposition To Plaintiffs’ Motion In Limine No. 2 To Exclude
                                            Evidence And Argument Regarding Relief Sought By Plaintiffs
Case 2:15-ml-02668-PSG-SK Document 1164 Filed 01/19/24 Page 3 of 12 Page ID
                                #:43871


 1            But Defendants would oppose any constraints on their ability to describe and
 2   critique the “but-for” world that in Plaintiffs’ view would have occurred—and would
 3   occur—in the absence of the challenged conduct. Undisputedly, Plaintiffs’ proposed
 4   but-for worlds are integral to the antitrust analysis in this case. See, e.g., ECF No.
 5   962-29, Elhauge Rebuttal Rep. ¶ 24 n.5 (antitrust damages are measured by a “but-
 6   for” world analysis). Nonetheless, Plaintiffs’ motion could be read to contend that
 7   simply because a hypothetical injunction might eliminate the challenged conduct,
 8   Defendants should be prohibited from discussing Plaintiffs’ asserted but-for worlds;
 9   if so, Defendants oppose that aspect of Plaintiffs’ motion.
10            Comparing the actual world to a but-for world absent the challenged conduct
11   would be central to trial in this action. Plaintiffs’ claims are subject to the rule of
12   reason analysis. ECF No. 1155, Order Denying Defs.’ Mot. Summ. J. at 3; In re Nat’l
13   Football League’s Sunday Ticket Antitrust Litig., 933 F.3d 1136, 1150 & n.5 (9th
14   Cir. 2019). Plaintiffs must first prove that the challenged conduct had a substantial
15   anticompetitive effect when compared to a but-for world in which the restraints did
16   not exist. See, e.g., Epic Games, Inc. v. Apple, Inc., 67 F.4th 946, 983 (9th Cir. 2023),
17   cert. denied, — S. Ct. —, 2024 WL 156473, 2024 WL 156474 (S. Ct. Jan. 16, 2024).
18   If Plaintiffs meet that initial burden, the rule of reason permits Defendants to offer
19   procompetitive rationales for the challenged restrictions. Id. at 985–86. Plaintiffs then
20   bear the burden to show that the procompetitive efficiencies could be reasonably
21

22   (E.D. Va. Sept. 12, 2008); Richards Mfg. Co. v. Thomas & Betts Corp., 2005 WL
     6043427, at *1 (D.N.J. Oct. 31, 2005); Arthrocare Corp. v. Smith & Nephew, Inc.,
23   2003 WL 1905636, at *1 (D. Del. Apr. 14, 2003). Moreover, many of Plaintiffs’ cited
     cases do not address future injunctive relief at all. See Novartis Pharms. Corp. v.
24   Teva Pharms. USA, Inc., 2009 WL 3754170, at *5 (D.N.J. Nov. 5, 2009) (prohibiting
     discussion of an existing preliminary injunction); Ciena Corp. v. Corvis Corp., 352
25   F. Supp. 2d 526, 529 (D. Del. 2005) (motion to reconsider a prior injunction); Brooks
     v. Cook, 938 F.2d 1048, 1052–53 (9th Cir. 1991) (addressing only treble damages);
26   In re Static Random Access Memory (SRAM) Antitrust Litig., 2010 WL 10086747, at
     *2 (N.D. Cal. Dec. 16, 2010) (same); Pollock & Riley, Inc. v. Pearl Brewing Co., 498
27   F.2d 1240, 1242–43 (5th Cir. 1974) (same); United States ex rel. Miller v. Bill
28
     Harbert Int’l Constr., Inc., 2007 WL 851868, at *2 (D.D.C. Mar. 14, 2007) (same);
     Semke v. Enid Auto. Dealers Ass’n, 456 F.2d 1361, 1370 (10th Cir. 1972) (same).
                                                   2
     Case No. 2:15-ml-02668-PSG (SKx)       Defendants’ Opposition To Plaintiffs’ Motion In Limine No. 2 To Exclude
                                            Evidence And Argument Regarding Relief Sought By Plaintiffs
Case 2:15-ml-02668-PSG-SK Document 1164 Filed 01/19/24 Page 4 of 12 Page ID
                                #:43872


 1   achieved through substantially less restrictive means without significantly increased
 2   costs. Id. at 990. These inquiries require a comparison between the actual world and
 3   the potential but-for world absent the challenged conduct, including discussion of the
 4   harms to competition and to consumers that would arise from the removal of the
 5   challenged restraints.
 6            Similarly, Plaintiffs must perform a “but-for” world comparison in order to
 7   prove antitrust impact and damages. See Comcast Corp. v. Behrend, 569 U.S. 27, 36
 8   (2013) (antitrust damages are determined by “comparing to that [but-for] baseline
 9   what the actual prices were during the charged period”); see also 3 Phillip E. Areeda
10   & Herbert Hovenkamp, Antitrust Law: An Analysis of Antitrust Principles and Their
11   Application, ¶ 395 (Wolters Kluwer eds., 4th ed. 2022) (noting that the but-for world
12   comparison “received early approval from the Supreme Court” as the measure of
13   damages in antitrust cases).
14            Discussion of the hypothetical world absent the challenged restraints is
15   therefore necessary not only to the liability analysis but also for Defendants to rebut
16   claims of damages and antitrust injury on Plaintiffs’ own terms. Compare, e.g., ECF
17   No. 962-4, Rascher Rep. ¶¶ 29–33, with, e.g., ECF No. 962-10, Bernheim Rep.
18   ¶¶ 23–26; see also Amdocs, 2012 WL 12832376, at *1 (granting limitation on
19   discussion of injunctive relief but providing that the “ruling in no respect limits
20   defendant’s ability to cross-examine plaintiff’s damages expert”; “[i]f reference to
21   injunctive relief is relevant to that cross-examination, it will be permitted”). Plaintiffs
22   likewise have not identified any unfair prejudice that would arise from a discussion
23   of their but-for worlds, as distinguished from the prejudice they assert would arise
24   from explicit discussion of injunctive relief.
25            Defendants thus do not oppose a narrow prohibition on discussion of whether
26   the Court might enter an injunction and any speculation as to what such an injunction
27   might do. But if the Court’s ruling were to go beyond such narrow relief, it would
28   infringe upon the NFL Defendants’ ability to present a full defense to claims of
                                                   3
     Case No. 2:15-ml-02668-PSG (SKx)       Defendants’ Opposition To Plaintiffs’ Motion In Limine No. 2 To Exclude
                                            Evidence And Argument Regarding Relief Sought By Plaintiffs
Case 2:15-ml-02668-PSG-SK Document 1164 Filed 01/19/24 Page 5 of 12 Page ID
                                #:43873


 1   anticompetitive effects, injury, and damages, each of which depends critically on a
 2   comparison of the actual world to a but-for world without the challenged restraints.
 3            II.       Defendants Should Be Permitted To Present Evidence That Sunday
                        Ticket Was A High Quality, High-Demand Product.
 4

 5            Plaintiffs’ motion separately seeks to bar a vague category of evidence or
 6   argument “concerning any financial benefit or ‘pass on’ of any overcharge, any
 7   supposed failure to mitigate damages, and any supposed fault from Plaintiffs’
 8   consumer choices.” Mot. at 4. Defendants will not argue that Plaintiffs’ damages
 9   should be reduced to the extent that they increased their prices or made additional
10   sales to consumers. But relief beyond those narrow confines is not justified. The
11   parties will need to address at trial the fact that commercial entities subscribed to
12   NFL Sunday Ticket for commercial benefits such as increased sales. That is the entire
13   basis of demand for that commercial product. Nor should there be any limits on
14   evidence regarding class members’ or class representatives’ purchasing history for
15   Sunday Ticket, as that evidence addresses issues at the core of this case, including
16   how much Plaintiffs actually paid for the product, as well as its quality and value.
17   Consideration of these factors is essential to the rule of reason analysis, regardless of
18   whether such consideration might be inadmissible for some other purpose. See Epic
19   Games, 67 F.4th at 987 (product quality as a required consideration in the rule of
20   reason analysis); id. at 974, 998 (requiring identical rule of reason inquiries for a
21   plaintiff’s claims under both Section 1 and Section 2 of the Sherman Act); see also
22   Fed. R. Evid. 105 (contemplating evidence admitted for one purpose despite being
23   inadmissible for another purpose); see also United States v. Abel, 469 U.S. 45, 56
24   (1984) (“[T]here is no rule of evidence which provides that [evidence] admissible for
25   one purpose and inadmissible for another purpose is thereby rendered
26   inadmissible[.]”).
27            Finally, Plaintiffs attempt to limit Defendants’ ability to use clear language to
28   describe Plaintiffs’ damages claims to the jury, asking the Court to bar use of the
                                                    4
     Case No. 2:15-ml-02668-PSG (SKx)        Defendants’ Opposition To Plaintiffs’ Motion In Limine No. 2 To Exclude
                                             Evidence And Argument Regarding Relief Sought By Plaintiffs
Case 2:15-ml-02668-PSG-SK Document 1164 Filed 01/19/24 Page 6 of 12 Page ID
                                #:43874


 1   term “refund.” Mot. at 7. But Plaintiffs offer no legal basis for prohibiting the use of
 2   a common-sense, accessible lay description of the issues to the jury.
 3            Because Plaintiffs fail to contest the relevance or establish any unfair prejudice
 4   that might arise from the introduction of any of the following categories of evidence,
 5   this portion of their motion should be denied.
 6            Commercial use evidence. Defendants should be allowed to elicit evidence
 7   that the commercial class used Sunday Ticket to attract and retain customers, and
 8   earn more money. It is uncontroverted that this was why commercial class members
 9   bought Sunday Ticket. See, e.g., ECF No. 1153-3, Rascher 6/28/23 Dep. Tr. 247:23–
10   248:8 (Plaintiffs’ expert conceding commercial entities purchased Sunday Ticket to
11   attract customers); Pastan Decl. Ex. 1, Gael Pub 30(b)(6) Dep. Tr. 56:22–57:11,
12   81:13–86:16 (commercial class representative affirming Sunday Ticket attracted
13   customers and increased bar’s revenue); Pastan Decl. Ex. 2, Mucky Duck 30(b)(6)
14   Dep. Tr. 61:8–62:8, 66:9–14 (same).
15            Evidence addressing Sunday Ticket’s effect on increasing sales and profits for
16   commercial subscribers is therefore a critical measure of its quality as a product, and
17   product quality is indisputably relevant to the reasonableness and procompetitive
18   effects of Defendants conduct that is analyzed under the rule of reason. See Epic
19   Games, 67 F.4th at 987 (product quality is required consideration in rule of reason
20   analysis); In re Dealer Mgmt. Sys. Antitrust Litig., — F. Supp. 3d —, 2023 WL
21   4305901, at *36 (N.D. Ill. June 29, 2023) (citing increased quality of product as one
22   explanation for increased product pricing); Cmty. Publishers, Inc. v. Donrey Corp.,
23   892 F. Supp. 1146, 1161 (W.D. Ark. 1995) (excluding expert testimony that fails to
24   consider the possibility that a high product price could be driven by high product
25   quality), aff’d sub nom. Cmty. Publishers, Inc. v. DR Partners, 139 F.3d 1180 (8th
26   Cir. 1998); The Hon. Douglas H. Ginsburg, Balancing Unquantified Harms and
27   Benefits in Antitrust Cases Under the Consumer Welfare Standard, 2019 Colum.
28

                                                     5
     Case No. 2:15-ml-02668-PSG (SKx)         Defendants’ Opposition To Plaintiffs’ Motion In Limine No. 2 To Exclude
                                              Evidence And Argument Regarding Relief Sought By Plaintiffs
Case 2:15-ml-02668-PSG-SK Document 1164 Filed 01/19/24 Page 7 of 12 Page ID
                                #:43875


 1   Bus. L. Rev. 824, 827 (2019) (non-price considerations are essential to evaluating
 2   conduct under antitrust consumer welfare standard).
 3            Evidence of NFL Sunday Ticket’s popularity with patrons serves the
 4   additional purpose of informing consumer demand for the product and consumer
 5   choice for viewing out-of-market games. ECF No. 1153-6, Yurukoglu Rep. ¶¶ 96–
 6   97. Consumer demand—as measured by Sunday Ticket’s popularity—is one piece
 7   of evidence rebutting Plaintiffs’ claims that the product was subject to supra-
 8   competitive prices; it is entirely reasonable for a high-demand product that generates
 9   profits for commercial class members to be priced as a premium product. As one
10   court in this District has explained, “[c]ommon sense dictates that a more popular
11   [product] typically will command higher . . . prices than a less popular [product].” In
12   re Live Concert Antitrust Litig., 863 F. Supp. 2d 966, 975 (C.D. Cal. 2012) (excluding
13   expert testimony that failed to account for this “common sense”). And increased bar
14   attendance showcases one way that many consumers opted to view out-of-market
15   games rather than buying Sunday Ticket—that is, it reflects consumer choice. These
16   considerations are relevant to any attempt to balance the challenged agreements’
17   procompetitive benefits (like high product quality) and their alleged impacts on
18   consumer choice, as required for claims under both Section 1 and Section 2. See Epic
19   Games, 67 F.4th at 974, 998.
20            Defendants are thus entitled to offer evidence of the successful use of Sunday
21   Ticket by the commercial class. This evidence will not be used to assert a “pass-
22   through” defense, meaning that the NFL Defendants will not argue that the
23   commercial benefits that Plaintiffs received should be deducted from any damages
24   that they can prove. See In re Apple iPhone Antitrust Litig., 846 F.3d 313, 321 (9th
25   Cir. 2017) (explaining the holding in Hanover Shoe, Inc. v. United Shoe Machinery
26   Corp., 392 U.S. 481 (1968)). But even if there were the potential for unfair prejudice
27   from this evidence—and Plaintiffs fail to demonstrate how such prejudice would
28   arise—it would not substantially outweigh Defendants’ need to address the reasons
                                                   6
     Case No. 2:15-ml-02668-PSG (SKx)       Defendants’ Opposition To Plaintiffs’ Motion In Limine No. 2 To Exclude
                                            Evidence And Argument Regarding Relief Sought By Plaintiffs
Case 2:15-ml-02668-PSG-SK Document 1164 Filed 01/19/24 Page 8 of 12 Page ID
                                #:43876


 1   why commercial entities subscribe to Sunday Ticket, the quality of that product
 2   (demonstrated by, e.g., the additional customers it attracts), and the increased reach
 3   of NFL football games that results from commercial use of the Sunday Ticket
 4   product. These facts demonstrate the reasonableness and procompetitive benefits of
 5   the existing Sunday Ticket arrangements and support a “common sense” justification
 6   for Sunday Ticket’s pricing: purchaser demand.
 7            Consumer choice evidence. Similar considerations confirm the admissibility
 8   of evidence that class members, including the class representatives, repeatedly
 9   purchased the Sunday Ticket product—even after alleging in litigation that it was
10   overpriced. Plaintiffs assert broadly that the actions of class representatives and other
11   consumers are “beside the point” and should be excluded as irrelevant. Mot. at 5.
12   This is mistaken. Consumers’ behavior is critical evidence of Sunday Ticket’s quality
13   and demonstrates both the reasonableness of, and procompetitive justifications for,
14   Defendants’ conduct. Defendants will present evidence that the challenged restraints
15   improve quality in multiple ways, including by incentivizing investment in game
16   telecasts through video production, technological advancement, and superior game
17   commentary. This investment makes the compilation of national telecasts in Sunday
18   Ticket a high-quality product, as demonstrated by (among other things) customers—
19   including class representatives—who repeatedly resubscribed to Sunday Ticket.
20   None of this evidence suggests any “blame” to be attributed to Plaintiffs, or any other
21   potential source of improper prejudice. Rather, this evidence demonstrates product
22   quality from a consumer perspective, and thus is relevant to Plaintiffs’ claims under
23   both Section 1 and Section 2. See Epic Games, 67 F.4th at 974, 998.
24            Moreover, Plaintiffs put Sunday Ticket’s product quality at issue in their own
25   questioning. During depositions, Plaintiffs repeatedly questioned Defendants’
26   witnesses regarding the quality of the Sunday Ticket product, addressing issues such
27   as purported lack of innovation. See, e.g., Pastan Decl. Ex. 3, Dyckes Dep. Tr. 998:7–
28   99:15; id. Ex. 4, Jones, L. Dep. Tr. 28:12–29:2; id. Ex. 5, Lawton Dep. Tr. 147:4–
                                                   7
     Case No. 2:15-ml-02668-PSG (SKx)       Defendants’ Opposition To Plaintiffs’ Motion In Limine No. 2 To Exclude
                                            Evidence And Argument Regarding Relief Sought By Plaintiffs
Case 2:15-ml-02668-PSG-SK Document 1164 Filed 01/19/24 Page 9 of 12 Page ID
                                #:43877


 1   148:4. Evidence that class members—including named plaintiffs—continued to
 2   subscribe to Sunday Ticket, even after alleging they were overpaying for it, strongly
 3   suggests that the product is high quality and was reasonably priced. See ECF No.
 4   1000-20, Lippincott Dep. Tr. 44:18–46:13. Such evidence also rebuts any claims of
 5   lack of innovation and should be admitted. See Kraft Foods Glob., Inc. v. United Egg
 6   Producers, Inc., 2023 WL 6049912, at *7 (N.D. Ill. Sept. 15, 2023) (allegations of
 7   particular anticompetitive effect opens the door to rebuttal evidence of
 8   procompetitive benefits of same restraint).
 9            Because evidence about commercial use and consumer choice are relevant to
10   the quality of and demand for the Sunday Ticket product, and no unfair prejudice
11   would arise from this evidence, it should be admitted at trial.
12            Discussion of proposed relief. Plaintiffs finally assert—in the last sentence of
13   their motion and without any legal citations—that Defendants should be barred from
14   noting that Plaintiffs’ claims of up to 100 percent overcharges amount to a request
15   for a “refund.” Mot. at 7. This request is baseless.
16            Defendants should be permitted to use clear, descriptive language to discuss
17   Plaintiffs’ damages claim. There is no dispute that Plaintiffs seek to recoup an award
18   in damages based on the amount they allege they “overpaid” for the Sunday Ticket
19   product—up to and including the total price paid by all class members during the
20   class period. ECF No. 962-4, Rascher Rep. ¶ 336 (“[O]vercharge damages are the
21   full payments class members made to purchase Sunday Ticket during the damage
22   period.”). A return of money paid by a consumer back to that consumer is, by the
23   literal dictionary term, a “refund.” See, e.g., Refund, Black’s Law Dictionary (11th
24   ed. 2019) (“The return of money to a person who overpaid.”). Courts thus routinely
25   use the term “refund” to refer to a damages award equal to the amount by which the
26   plaintiff allegedly overpaid. See, e.g., In re W. States Wholesale Nat. Gas Antitrust
27   Litig., 715 F.3d 716, 738 (9th Cir. 2013) (discussing requests for a “full refund” in
28   the context of damages under state antitrust law), aff’d sub nom. Oneok, Inc. v.
                                                    8
     Case No. 2:15-ml-02668-PSG (SKx)        Defendants’ Opposition To Plaintiffs’ Motion In Limine No. 2 To Exclude
                                             Evidence And Argument Regarding Relief Sought By Plaintiffs
Case 2:15-ml-02668-PSG-SK Document 1164 Filed 01/19/24 Page 10 of 12 Page ID
                                 #:43878


  1   Learjet, Inc., 575 U.S. 373 (2015); In re Int’l Air Transp. Surcharge Antitrust Litig.,
  2   2008 WL 4766824, at *1 (N.D. Cal. Oct. 31, 2008) (referring to proceeds from a
  3   price-fixing settlement as “refunds”); Albert v. Glob. Tel*Link, 68 F.4th 906, 914
  4   (4th Cir. 2023) (defining the requested compensatory damages for a RICO price-
  5   fixing scheme as “a refund of the amount [Plaintiffs] wouldn’t have paid but for
  6   Defendants’ fraud”); Taffet v. S. Co., 967 F.2d 1483, 1491 (11th Cir. 1992) (similar);
  7   Moehrl v. Nat’l Ass’n of Realtors, 2023 WL 2683199, at *20 (N.D. Ill. Mar. 29, 2023)
  8   (discussing damages equal to the overpayment amount as compared to a “full
  9   refund”) (emphasis added); South Carolina v. LG Display Co., Ltd., 2011 WL
 10   4344074, at *6 (D.S.C. Sept. 14, 2011) (recognizing a state’s interest in enforcing its
 11   own antitrust laws to “refund [ill-gotten gains] to its citizens”), aff’d sub nom. AU
 12   Optronics Corp. v. South Carolina, 699 F.3d 385 (4th Cir. 2012); Colo. C.R. Comm’n
 13   v. Wells Fargo Bank & Co., 2011 WL 2610205, at *4 (D. Colo. July 1, 2011)
 14   (referring to damages under state antitrust law as a “refund of overcharges”); In re
 15   Title Ins. Antitrust Cases, 702 F. Supp. 2d 840, 852 (N.D. Ohio 2010) (damages
 16   sought in antitrust suit “would, in essence, . . . force[ defendants] to refund to
 17   Plaintiffs the amount allegedly overcharged” (cleaned up)); Util. Choice, L.P. v. TXU
 18   Corp., 2005 WL 3307524, at *3 (S.D. Tex. Dec. 6, 2005) (describing the court’s
 19   power to “refund profits derived from wrongful conduct”).
 20            Plaintiffs may be concerned that jurors will find implausible the claim that a
 21   highly valuable product would, in a but-for world, be available to all class members
 22   at little to no additional cost—that is certainly Defendants’ view. But Defendants are
 23   entitled to use clear language to describe and rebut Plaintiffs’ assertions. Courts
 24   should not prevent—and rather should encourage—the use of plain language to
 25   describe claims to lay jurors. Plaintiffs also offer no basis on which to suggest that
 26   the use of such straightforward, descriptive language is “unduly prejudicial,” William
 27   Hablinski Architecture v. Amir Constr., Inc., 2005 WL 4658149, at *4 (C.D. Cal.
 28   Feb. 27, 2005); see also Cooper v. Meritor, Inc., 2019 WL 1028530, at *9 (N.D.
                                                    9
      Case No. 2:15-ml-02668-PSG (SKx)       Defendants’ Opposition To Plaintiffs’ Motion In Limine No. 2 To Exclude
                                             Evidence And Argument Regarding Relief Sought By Plaintiffs
Case 2:15-ml-02668-PSG-SK Document 1164 Filed 01/19/24 Page 11 of 12 Page ID
                                 #:43879


  1   Miss. Mar. 4, 2019) (where term has a common-sense meaning that would be
  2   accessible to the jury, it is less likely to be excluded under Rule 403). Their request
  3   for exclusion of this language therefore should be denied.
  4                                      #   #          #         #         #
  5            Defendants therefore submit that the following restrictions should apply to
  6   both parties, but maintain that further relief is inappropriate:
  7            1. No party shall discuss the potential for injunctive relief before the jury; and
  8            2. No party shall argue that the quantum of asserted damages for commercial
  9                 class members is affected by whether they did—or did not—pass through
 10                 any asserted overcharges to their customers.
 11

 12

 13

 14

 15

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25

 26

 27

 28

                                                       10
      Case No. 2:15-ml-02668-PSG (SKx)           Defendants’ Opposition To Plaintiffs’ Motion In Limine No. 2 To Exclude
                                                 Evidence And Argument Regarding Relief Sought By Plaintiffs
Case 2:15-ml-02668-PSG-SK Document 1164 Filed 01/19/24 Page 12 of 12 Page ID
                                 #:43880


  1   Dated: January 19, 2024              Respectfully submitted,

  2                                        /s/ Beth A. Wilkinson
                                           Beth A. Wilkinson (admitted pro hac vice)
  3                                        Rakesh N. Kilaru (admitted pro hac vice)
                                           Brian L. Stekloff (admitted pro hac vice)
  4                                        Jeremy S. Barber (admitted pro hac vice)
  5                                        Max J. Warren (admitted pro hac vice)
                                           WILKINSON STEKLOFF LLP
  6                                        2001 M Street NW, 10th Floor
                                           Washington, DC 20036
  7                                        Telephone: (202) 847-4000
                                           Facsimile: (202) 847-4005
  8                                        bwilkinson@wilkinsonstekloff.com
  9                                        rkilaru@wilkinsonstekloff.com
                                           bstekloff@wilkinsonstekloff.com
 10                                        jbarber@wilkinsonstekloff.com
                                           mwarren@wilkinsonstekloff.com
 11

 12                                        Neema T. Sahni (Bar No. 274240)
                                           COVINGTON & BURLING LLP
 13                                        1999 Avenue of the Stars
                                           Suite 1500
 14                                        Los Angeles, CA 90067-6045
                                           Telephone: (424) 332-4800
 15
                                           Facsimile: (424) 332-4749
 16                                        nsahni@cov.com
 17                                        Gregg H. Levy (admitted pro hac vice)
                                           Derek Ludwin (admitted pro hac vice)
 18                                        John S. Playforth (admitted pro hac vice)
 19                                        COVINGTON & BURLING LLP
                                           One CityCenter
 20                                        850 Tenth Street NW
                                           Washington, DC 20001
 21                                        Telephone: (202) 662-6000
                                           Facsimile: (202) 662-6291
 22
                                           glevy@cov.com
 23                                        dludwin@cov.com
                                           jplayforth@cov.com
 24
                                           Counsel for Defendants National Football
 25                                        League, NFL Enterprises LLC, and the
 26                                        Individual NFL Clubs

 27

 28

                                               11
      Case No. 2:15-ml-02668-PSG (SKx)   Defendants’ Opposition To Plaintiffs’ Motion In Limine No. 2 To Exclude
                                         Evidence And Argument Regarding Relief Sought By Plaintiffs
